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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NEW YORK

CHRISTOPHER GODSON,                       )
on behalf of himself                      )
and all others similarly situated,        ) No. 1:11-cv-0764-EAW-HKS
                                          )
                  Plaintiff,              )     CLASS ACTION
                                          )
                  v.                      )
                                          )
ELTMAN, ELTMAN & COOPER, P.C.,            )
and LVNV FUNDING, LLC,                    )
                                          )
            Defendants.                   )
___________________________________________


             Declaration of Plaintiffs’ Attorney Kenneth R. Hiller

      Under 28 U.S.C. § 1746, I, Kenneth R. Hiller, do hereby declare under

penalty of perjury, that the following is true and correct:

      1.     I am one of Plaintiff’s attorneys in this action.

                        Background and Qualifications

      2.     In 1980, I was graduated from Kent State University with a

B.A. in Political Science.

      3.     In 1983, I was graduated from the State University of New York

at Buffalo Law School with a J.D.

      4.     I was admitted to the New York State Bar (Appellate Division,

Fourth Department) on February 17, 1984, and remain a member in good

standing of that bar.

      5.     I am a member in good standing of the following federal courts:
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           U.S. Bankruptcy Court for the Western District of New York
           1988

           U.S. District Court for the Western District of New York
           March 9, 1990

           U.S. District Court for the Northern District New York
           March 3, 1995

           U.S. District Court for the Southern District New York
           July, 2014

           U.S. District Court for the Eastern District New York
           July, 2015

           U.S. District Court for the Western District Pennsylvania
           June, 2012

           U.S. District Court for the Southern District of Indiana
           August, 2017

           U.S. District Court for the District of Columbia
           January 7, 2013

           U.S. District Court for the Western District of Texas
           May, 2017

           United States Court of Appeals for the Second Circuit
           July 6, 1994

           United States Court of Appeals for the Third Circuit
           May, 2014

           United States Court of Veterans Claims
           November 28, 1994

      6.   I have also been admitted pro hac vice to the following courts:

           U.S. District Court for the District of Nevada

           U.S. District Court for the Northern District of Georgia

           U.S. District Court for the Middle District of Georgia

           U.S. District Court for the Middle District of Florida
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             U.S. District Court for the Middle District of Pennsylvania

      7.     From 1984 until 1985, I was employed by the law office of

      Jensen, Hall, Ricketts and Markey in East Aurora, New York.

      8.     From 1985 through 1987, I was employed by the Hyatt Legal

      Services in West Seneca, New York, and then in Rochester, New York.

      9.     From 1987 through 1988, I was employed by the law office of

      Gallo & Iacovangelo in Rochester, New York.

      10.    From 1988 through 1999, I was employed by the law office of

      Jeffrey Freedman Attorneys at Law in Buffalo, New York.

      11.      I began handling consumer bankruptcy cases in 1988 at Jeffrey

Freedman Attorneys at Law, a law firm that handles a high volume of such

cases. From 1988 through 1999, I handled thousands of bankruptcy cases in

the United States Bankruptcy Court, Western District of New York. Besides

Jeffrey Freedman himself, who primarily limited his involvement in

bankruptcy matters to managing the business aspect of the practice as well as

some initial client interviews, I was the most senior attorney handling

bankruptcy matters. As such, I was often assigned a case if it was deemed

unusually difficult.

      12. That by its’ very nature, consumer bankruptcy practice requires an

attorney to become involved in a variety of consumer related matters. For

example, loan documents must be reviewed to determine if there is a violation

of the truth-in-lending laws, and debtors are often found to be a victim of
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consumer frauds.    In addition, I handled litigation against creditors who

violated the bankruptcy automatic stay and discharge.

      13.   That in connection with many of the bankruptcy cases that I

handled, I commenced and took to trial numerous student loan hardship

discharge cases brought pursuant to 11 U.S.C.§523(a)(8). I estimate I handled

between five to ten of these trials. Among the reported cases in this area in

which I have been involved are the following:

      In re. Lavoie, 292 B.R. 504 (Bankr.W.D.N.Y.2003)

      In re Goranson, 183 B.R. 52 (Bankr.W.D.N.Y.1995)

      14. In 1996, your deponent was local counsel for a Fair Debt Collection

Practices Act (FDCPA) case that proceeded ultimately to a jury verdict. (Victori

v. Accelerated Bureau, et al., 96-cv-0263). After having had the opportunity to

observe that litigation, and after attending a national conference focusing on

FDCPA litigation, your deponent began handling FDCPA cases for consumers.

      15. Your deponent opened his own law office in August of 1999.

      16.   Since 2005, my firm has handled approximately 800 cases on

behalf consumers in the Western District of New York. The vast majority of

those cases arose under the Fair Debt Collection Practices Act, the Telephone

Consumer Protection Act of 1991, and the Fair Credit Reporting Act.          In

personally handled the litigation in a large number of these matters. On

others, members of my staff handled the litigation, however I supervised and

collaborated with them during the litigation.
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      17. That in August of 1999, I left Jeffrey Freedman Attorneys at Law

and opened my own practice.        I currently have two lawyers working as

associates for me who also handle consumer oriented litigation.

      18. That in addition to my consumer practice, I handle a large volume

of Social Security Disability claims. I have handled well over 100 district court

actions in that field, and have taken approximately 8 cases to the Court of

Appeals for the Second Circuit.

       19.   I am a member of the following professional organizations:

             Erie County Bar Association
             National Association of Consumer Advocates
             National Organization of Social Security Claimants
             Representatives
             National Employment Lawyers Association

      20.    I am experienced in trial and appellate court litigation and have

the following reported cases, among others:

             Sharp v. Ally Financial, Inc., 2018 WL 4300018,
                    (W.D.N.Y. September 10, 2018).

             Clayson v. Rubin & Rothman, LLC, 2010 WL 4628516
                    (W.D.N.Y. Nov. 16, 2010)

             Starkey v. Firstsource Advantage, LLC, 2010 WL 2541731
                    (W.D.N.Y. June 21, 2010)

             Strom v. National Enterprise Systems, Inc., 2010 WL 1533383
                    (W.D.N.Y. April 15, 2010)

             Strom v. National Enterprise Systems, Inc., 2011 WL 1233118
                    (W.D.N.Y.2011).

             Folts v. Eastern Asset Management, LLC, 2010 WL 1292498
                    (W.D.N.Y. March 29, 2010)
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           Annis v. Eastern Asset Management, LLC, 2010 WL 1035273
                 (W.D.N.Y. March 18, 2010)

           Krapf v. Collectors Training Institute of Illinois, Inc., 2010 WL
                 584020 (W.D.N.Y. February 16, 2010)

           Clayson v. Rubin & Rothman, LLC, 2010 WL 547476 (W.D.N.Y.
                 February 11, 2010)

           Graffeo v. Revenue Assistance Corp., (W.D.N.Y. February 10.
                 2010)

           Mostiller v. Chase Asset Recovery Corp., (W.D.N.Y. January 22,
                 2010)

           McMahon v. Credex America, Inc. 2009 WL 5171888 (W.D.N.Y.
                 2009)

           Bates v. I.C. System, Inc., 2009 WL 3459730 (W.D.N.Y. 2009)

           Elder v. Gold., 2009 WL 3333234 (W.D.N.Y. 2009)

           Raydos v. Cohen & Slamowitz, LLP, 2009 WL 2929166
                 (W.D.N.Y. 2009)

           Miller v. Midpoint Resolution Group, LLC, 608 F.Supp.2d 389
                 (W.D.N.Y. 2009)

           Berry v. National Financial Systems, Inc., 2009 WL 2843260
                 (W.D.N.Y. 2009)

           Herman v. National Enterprise Systems, Inc., 2009 WL 1874197
                 (W.D.N.Y. 2009)

           Herman v. National Enterprise Systems, Inc., 2009 WL 1874202
                 (W.D.N.Y. 2009)

           Fentner v. Tempest Recovery Services, Inc., 2008 WL 4147346
                 (W.D.N.Y. 2008)

           Spencer v. Arizona Premium Finance Co., Inc., 2008 WL
                 5432234 (W.D.N.Y. 2008)

           Burchalweski v. Wolpoff & Abramson, LLP, 2008 WL 4238933
                 (W.D.N.Y. 2008)
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             Russell v. Hartweg, 2008 WL 2157122 (W.D.N.Y. 2008)

             DeGeorge v. LTD Financial Services, L.P., 2008 WL 9059913
                   (W.D.N.Y. 2008)

             Wegrzyn v. Vital Recovery Services, Inc., 2007 WL 4867584
                   (W.D.N.Y. 2007)

             Stover v. Northland Group, Inc., 2007 WL 2580490 (W.D.N.Y.
                   2007)

             Goodrich v. WFS Financial, Inc., 2008 WL 607390 (N.D.N.Y.
                   2007)

             Sweeney v. D.C. Credit Services, Inc., 2007 WL 981919
                   (W.D.N.Y. 2007)

             Prewitt v. Wolpoff & Abramson, LLP, 2007 WL 841778
                   (W.D.N.Y. 2007)

             Harrison v. Federal Pacific Credit Co., LLC, 2006 WL 276605
                   (W.D.N.Y. 2007)

             Trapper v. Credit Collection Services, Inc. 2011 WL 5080304
                   (W.D.N.Y.2011)

             Basile v. I.C. System, Inc., 2011 WL 4368510 (W.D.N.Y.2011)

             Moltz v. Firstsource Advantage, LLC, 2011 WL 3360010
                   (W.D.N.Y.2011)

             Balk v. Feuerstein & Smith, LLP, 2011 WL 1557948
                   (W.D.N.Y.2011)

      21.    I have participated in one prior and am participating in two

pending class action lawsuits:

             Dawn Patton v. Portfolio Recovery Services, LLC and Catherine
                  Catherine Hedgeman, WDNY, Case No. 1:09-cv-0806-RJA
                   (Case settled prior to class certification)

             Godson v. Eltman, Eltman and Cooper (Motion for Class
                   Certification pending) (W.D.N.Y., Case No. 1:11-cv-764-
                   EAW-HKS) (5/21/2018)
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             Michael Hallmark v. Cohen & Slamowitz, LLP, and Midland
                  Funding LLC d/b/a Midland Funding of Delaware LLC,
                   WDNY, Case No. 11-cv-0842(WMS)(LGF) (Motion for
                   Class Certification granted 9/16/2013)

      22.    In addition, I have attended multiple workshops at consumer

law seminars in which the primary topic has been class action litigation.

      23.    I generally charge $350.00 per hour in cases I handle in

consumer cases or other litigation where a Court does not determine my fee.

      24.    Courts in this district have awarded the undersigned $215.00

per hour in attorneys fees in routine FDCPA cases in which the Defendant

has defaulted. See Twarozek v. Midpoint Resolution Group, LLC, 2011 WL

3440096 (W.D.N.Y.) and Romano v. Accelerated Receivables, 2011 WL

6091704 (W.D.N.Y.).

      25.    This case is much more complex, involving the FDCPA,

Bankruptcy Law, and Class Action law. The case was fiercely opposed by

capable counsel.

      26.    That the undersigned is aware of only two other cases in which a

class has been certified in this district in an FDCPA case, and that was a

different case handled by Mr. Bromberg and I. (Easterling and Hallmark,

cited above). As far as I am aware, there are no other attorneys in Western

New York who handle class actions for consumer matters.

      27.    That as a result of the lack of competent class action co-counsel

in Western New York, I found it necessary to co-counsel with Mr. Bromberg,

an attorney from New York City.
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      28.    Given my nearly 30 years of legal experience, the difficulty and

complexity of this case, the fact that competent class action counsel for

consumer cases other than the undersigned, does not exist, and for all the

other reasons cited in the Memorandum of Law submitted herewith, it is

hereby requested that I be awarded $450.00 for legal services rendered in

this case.

      29.    I have attached my time records in this case. These records

were kept contemporaneously, and accurately reflect the time I spent on this

case. I used billing judgment with these records. For example, I did not bill

for every email sent and received or other routine or clerical tasks.

      30.    In the Easterling case, the undersigned sought an hourly rate of

$400.00. (See Dkt No. 66-2 in Easterling case.

      31.    The Court approved all hours sought at the $400.00 hourly rate

sought by the undersigned on December 19, 2013. (See Dkt. No. 68).

      32.    Given that the approval of a $400.00 hourly rate was more than

five years ago, it is submitted that a modest increase in that rate to $450.00

is warranted and appropriate.

      33.    Based upon my time records (attached as Exhibit A), I have

accumulated 108.4 hours working on this case, with an hourly rate of

$450.00, for a total of $48,780.00.

      34.    Based on the time records (attached as Exhibit B) of Seth

Andrews, an associate attorney in my office and has been active in this case
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from beginning to end, Mr. Andrews accumulated approximately 47.6 hours

of time at a billing rate of $300 an hour, for a total of $14,280.00.

          35.   I therefore request a total of $63,060 in attorney fees for my

office.

          36.   I also request that my office’s out-of-pocket expenses of $470 be

reimbursed.

Dated:          Amherst, New York
                September 21, 2018


                                                 /s/ Kenneth R. Hiller
                                                 Kenneth R. Hiller
